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     Attorneys for Plaintiff and
16   Counterdefendant hiQ Labs, Inc.
17                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19
     hiQ Labs, Inc.,                             Case No. 17-cv-03301-EMC
20                 Plaintiff,
           vs.                                   STIPULATION AND [PROPOSED]
21                                               ORDER FOR BRIEFING ON MOTION
     LinkedIn Corporation,                       FOR SANCTIONS AND HIQ’S MOTION
22                 Defendant.                    FOR SUMMARY JUDGMENT

23                                               Complaint Filed:      June 7, 2017
     LinkedIn Corporation                        Trial Date:           February 27, 2023
24
                 Counterclaimant,
25         vs.

26   hiQ Labs, Inc.
                   Counterdefendant,
27

28
                                                        STIP. AND [PROPOSED][ ORDER REGARDING BRIEFING
                                                                       AND HEARING ON CERTAIN MOTIONS
                                                                                        17-CV-03301-EMC
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 1   The Parties to the above-captioned matter hereby stipulate as follows:

 2           1.     On August 5, 2022, LinkedIn filed a Motion for Sanctions noticing hiQ’s

 3   opposition to be due by August 19, 2022, LinkedIn’s reply due by August 26, 2022, and a hearing

 4   on September 29, 2022 at 1:30 p.m. ECF No. 337.

 5           2.     On August 5, 2022, hiQ filed a Motion for Summary Judgment noticing

 6   LinkedIn’s opposition due on August 19, 2022 and hiQ’s reply due by August 26, 2022 with a

 7   hearing for September 15, 2022 at 1:30 p.m. ECF No. 331. On August 12, 2022, the Court set the

 8   hearing for hiQ’s Motion for Summary Judgment for September 29, 2022 at 1:30 p.m. ECF No.

 9   351.

10           3.     The operative Scheduling Order orders that oppositions to Dispositive and Daubert

11   Motions are due on August 31, 2022, replies in further support of Dispositive and Daubert

12   Motions are due on September 12, 2022, and a hearing on Dispositive and Daubert Motions will

13   be held on September 30, 2022.1 ECF No. 236.

14           4.     The briefing deadlines for hiQ’s Motion for Summary Judgment shall comply with

15   the deadlines set forth in the operative Scheduling Order. ECF No. 236.

16           5.     The operative Scheduling Order does not include a timeline for briefing on any

17   Motion for Sanctions.

18           6.     The briefing for LinkedIn’s Motion for Sanctions shall follow the following

19   schedule: hiQ shall oppose LinkedIn’s Motion for Sanctions by September 2, 2022.

20           7.     LinkedIn shall file any reply in further support of its Motion for Sanctions by
21   September 15, 2022.

22           8.     The Court will hear argument on LinkedIn’s Motion for Sanctions on September

23   29, 2022 at 1:30 p.m., the date scheduled for the hearing on the pending Dispositive and Daubert

24   Motions and as noticed by LinkedIn in its Motion for Sanctions. See ECF No. 236.

25           SO STIPULATED.

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     1
      While ECF No. 236 orders September 30, 2022 as the hearing date for Dispositive and Daubert
28   Motions, September 30 is a Friday and the Court’s civil law and motion calendar is on Thursday.
                                                                      STIP. AND [PROPOSED][ ORDER REGARDING
                                                     2            BRIEFING AND HEARING ON CERTAIN MOTIONS
                                                                                              17-CV-03301-EMC
      Case 3:17-cv-03301-EMC Document 352 Filed 08/16/22 Page 3 of 4



 1   Dated: August 15, 2022                  Orrick, Herrington & Sutcliffe LLP

 2

 3                                           By:          /s/ Annette L. Hurst
                                                           ANNETTE L. HURST
 4                                                         Attorney for Defendant
                                                            LinkedIn Corporation
 5

 6

 7
     Dated: August 15, 2022                  Quinn Emanuel Urquhart & Sullivan LLP
 8

 9
                                             By:          /s/ Hope Skibitsky
10                                                           HOPE SKIBITSKY
                                                            Attorney for Plaintiff
11                                                             hiQ Labs, Inc.
12

13
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
14

15
      Dated: _____________, 2021
16                                                      EDWARD M. CHEN
                                                      United States District Judge
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                                                          STIP. AND [PROPOSED][ ORDER REGARDING
                                         3            BRIEFING AND HEARING ON CERTAIN MOTIONS
                                                                                  17-CV-03301-EMC
       Case 3:17-cv-03301-EMC Document 352 Filed 08/16/22 Page 4 of 4



 1                               L.R. 5-1 SIGNATURE ATTESTATION

 2          As the ECF user whose user ID and password are utilized in the filing of this document, I
 3   attest that concurrence in the filing of the document has been obtained from each of the other
 4   signatories.
 5

 6
                                                                     /s/ Hope Skibitsky
 7                                                                        NAME

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                                                                     STIP. AND [PROPOSED][ ORDER REGARDING
                                                    -1-          BRIEFING AND HEARING ON CERTAIN MOTIONS
                                                                                             17-CV-03301-EMC
